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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION


      PILOT, et al.,

                       Plaintiff,

      v.                                                     Case No. 8:22-cv-1278-SDM-TGW


      LLOYD J. AUSTIN, III, et al.,

                       Defendants.
                                                    /


                  ORDER SCHEDULING SETTLEMENT CONFERENCE

             This matter has been referred to the undersigned to conduct a settlement

      conference. Accordingly, it is hereby

             ORDERED:

             1.        Scheduling Settlement Conference: The IN-PERSON settlement

                       conference will commence on December 14, 2022, at 10:00 a.m.

             2.        General Rules Governing the Settlement Conference: The following

                       guidelines apply to the settlement conference process:

                       a.      Case Summaries: By December 12, 2022, each party may e-

                               mail (Chambers_FLMD_Porcelli@flmd.uscourts.gov) a brief

                               written summary of the facts and issues, including damages, of

                               the case. These summaries are confidential and will not be

                               incorporated into the public record of this case.
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                  b.    Settlement Conference Procedures: To begin the settlement

                        conference, the undersigned will conduct an initial joint

                        conference with the parties, and each party, if so desired, may

                        make opening remarks about the case. The undersigned will

                        then proceed to private caucuses with counsel and the

                        individual parties. The undersigned will conduct as many joint

                        conferences and private caucuses as deemed necessary in order

                        to stimulate negotiations and keep order.

                  c.    Identification of Corporate and/or Claims Representatives:

                        As part of the written case summaries, counsel for corporate

                        parties and claims professionals shall state the name and general

                        job description of the employee or agent of the corporation who

                        will attend and participate on behalf of the corporate party.

                  d.    Authority to Declare Impasse: Although the average

                        settlement conference usually takes between 3-5 hours,

                        participants shall be prepared to spend as much time as

                        necessary to settle the case, or until an impasse is declared.




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              DONE AND ORDERED in Tampa, Florida, on this 21st day of November

      2022.




      cc:     Counsel of Record




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